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7

8

9                   IN THE UNITED STATES DISTRICT COURT FOR THE
10                            EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                        CASE NO: 2:10-CR-0255
12
                          Plaintiff,
13                                                    STIPULATION AND ORDER
              v.                                      MODIFYING TERMS OF PRETRIAL
14                                                    RELEASE RE TRAVEL
     FRENCH GULCH NEVADA MINING                       RESTRICTIONS
15   CORPORATION, BULLION RIVER
     GOLD CORPORATION, PETER
16   MARTIN KUHN, and KIEDOCK KIM,
17                        Defendants.
18   _____________________________/
19

20            The defendant, KIEDOCK KIM, through his counsel of record, and plaintiff
21   United States of America, through its counsel, Assistant United States Attorney
22   Samuel Wong, along with the Pre-Trial Services, agree and stipulate that the
23   condition of pre-trial release restricting the defendant’s travel to the Eastern District
24   of California shall be modified as follows: The defendant’s travel is restricted to the
25   Eastern District of California and the Northern District of California.
26   ///
27   ///
28   ///

                                              1
                       Stipulation and Order Modifying Terms of Pretrial Release
       Case 2:10-cr-00255-TLN Document 20 Filed 10/06/10 Page 2 of 2

1    Dated: October 4, 2010               Respectfully submitted,
2                                         SEGAL & KIRBY LLP
3
                                   By:    /s/ Malcolm Segal
4                                         MALCOLM SEGAL
                                          Attorneys for Defendant
5                                         KIEDOCK KIM
6

7
                                   By:    /s/ Samuel Wong
8    Dated: October 4, 2010               SAMUEL WONG
                                          Assistant United States Attorney
9

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12        IT IS SO ORDERED.
13
     Dated: October 4, 2010
14

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                                          ____________________________________
16                                        HONORABLE EDMUND F. BRENNAN
                                          Magistrate Judge, United States District Court
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                   Stipulation and Order Modifying Terms of Pretrial Release
